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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


  TAMMY RAUL,
                                                      Civil Action No.
                      Plaintiff,
                                                      COMPLAINT FOR VIOLATIONS
       v.                                             OF THE FEDERAL SECURITIES
                                                      LAWS


                                                      JURY TRIAL DEMANDED
   M&T BANK CORPORATION, C.
   ANGELA BONTEMPO, ROBERT T.
   BRADY, CALVIN G. BUTLER, JR., T.
   JEFFERSON CUNNINGHAM, III,
   GARY N. GEISEL, LESLIE V.
   GODRIDGE, RICHARD S. GOLD,
   RICHARD A. GROSSI, RENE F.
   JONES, RICHARD H. LEDGETT, JR.,
   NEWTON P.S. MERRILL, KEVIN J.
   PEARSON, MELINDA R. RICH,
   ROBERT E. SADLER, JR., DENIS J.
   SALAMONE, JOHN R. SCANNELL,
   DAVID S. SCHARFSTEIN, RUDINA
   SESERI, and HERBERT L.
   WASHINGTON,


                      Defendants.



       Plaintiff Tammy Raul (“Plaintiff”) by and through her undersigned attorneys, brings this

action on behalf of herself, and alleges the following based upon personal knowledge as to those

allegations concerning Plaintiff and, as to all other matters, upon the investigation of counsel,

which includes, without limitation: (a) review and analysis of public filings made by M&T Bank

Corporation (“M&T” or the “Company”) and other related parties and non-parties with the

United States Securities and Exchange Commission (“SEC”); (b) review and analysis of press
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releases and other publications disseminated by certain of the Defendants (defined below) and

other related non-parties; (c) review of news articles, shareholder communications, and postings

on the Company’s website concerning the Company’s public statements; and (d) review of other

publicly available information concerning M&T and the Defendants.

                                 SUMMARY OF THE ACTION

       1.       This is an action brought by Plaintiff against M&T and the Company’s Board of

Directors (the “Board” or the “Individual Defendants”) for their violations of Section 14(a) and

20(a) of the Securities Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9,

17 C.F.R. 240.14a-9, in connection with the proposed merger of the Company with People’s

United Financial, Inc. (“People’s United”) (the “Proposed Transaction”).

       2.       On February 21, 2021, the Company entered into an Agreement and Plan of

Merger (the “Merger Agreement”) with People’s United. Pursuant to the terms of the Merger

Agreement People’s United shareholders will receive 0.118 of a share of M&T common stock

per share of People’s United owned (the “Merger Consideration”).

       3.       On April 1, 2021, in order to convince the Company’s shareholders to vote in

favor of the Proposed Transaction, the Board authorized the filing of a materially incomplete and

misleading registration statement with the SEC on Form S-4 (the “Registration Statement”), in

violation of Sections 14(a) and 20(a) of the Exchange Act.

       4.       For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

M&T and the Board for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule

14a-9. Plaintiff seeks to enjoin Defendants from taking any steps to consummate the Proposed

Transaction unless and until the material information discussed below is disclosed to M&T

shareholders before the vote on the Proposed Transaction or, in the event the Proposed




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Transaction is consummated, recover damages resulting from the Defendants’ violations of the

Exchange Act.

                                  JURISDICTION AND VENUE

        5.       This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

        6.       This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

        7.       Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                          THE PARTIES

        8.       Plaintiff is, and has been at all times relevant hereto, the owner of M&T shares.

        9.       Defendant M&T is incorporated under the laws of New York and has its principal

executive offices located at One M&T Plaza, 5th Floor, Buffalo, New York 14203.                  The

Company’s common stock trades on the New York Stock Exchange under the symbol “MTB.”

        10.      Defendant C. Angela Bontempo (“Bontempo”) is and has been a director of M&T

at all times during the relevant time period.

        11.      Defendant Robert T. Brady (“Brady”) is and has been a director of M&T at all

times during the relevant time period.




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       12.     Defendant Calvin G. Butler, Jr. (“Butler”) is and has been a director of M&T at

all times during the relevant time period.

       13.     Defendant T. Jefferson Cunningham, III (“Cunningham”) is and has been a

director of M&T at all times during the relevant time period.

       14.     Defendant Gary N. Geisel (“Geisel”) is and has been a director of M&T at all

times during the relevant time period.

       15.     Defendant Leslie V. Godridge (“Godridge”) is and has been a director of M&T at

all times during the relevant time period.

       16.     Defendant Richard S. Gold (“Gold”) is and has been a director of M&T at all

times during the relevant time period.

       17.     Defendant Richard A. Grossi (“Grossi”) is and has been a director of M&T at all

times during the relevant time period.

       18.     Defendant Rene F. Jones (“Jones”) is and has been the Chief Executive Officer

and Chairman of the Board of M&T at all times during the relevant time period.

       19.     Defendant Richard H. Ledgett, Jr. (“Ledgett”) is and has been a director of M&T

at all times during the relevant time period.

       20.     Defendant Newton P.S. Merrill (“Merrill”) is and has been a director of M&T at

all times during the relevant time period.

       21.     Defendant Kevin J. Pearson (“Pearson”) is and has been a director of M&T at all

times during the relevant time period.

       22.     Defendant Melinda R. Rich (“Rich”) is and has been a director of M&T at all

times during the relevant time period.




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       23.     Defendant Robert E. Sadler, Jr. (“Sadler”) is and has been a director of M&T at

all times during the relevant time period.

       24.     Defendant Denis J. Salamone (“Salamone”) is and has been a director of M&T at

all times during the relevant time period.

       25.     Defendant John R. Scannell (“Scannell”) is and has been a director of M&T at all

times during the relevant time period.

       26.     Defendant David S. Scharfstein (“Scharfstein”) is and has been a director of M&T

at all times during the relevant time period.

       27.     Defendant Rudina Seseri (“Seseri”) is and has been a director of M&T at all times

during the relevant time period.

       28.     Defendant Herbert L. Washington (“Washington”) is and has been a director of

M&T at all times during the relevant time period.

       29.     Defendants Bontempo, Brady, Butler, Cunningham, Geisel, Godridge, Gold,

Grossi, Jones, Ledgett, Merrill, Pearson, Rich, Sadler, Salamone, Scannell, Scharfstein, Seseri,

and Washington are collectively referred to herein as the “Individual Defendants.”

       30.     The Individual Defendants, along with Defendant M&T, are collectively referred

to herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                   Background of the Company

       31.     M&T is a New York business corporation registered as a financial holding

company under the Bank Holding Company Act of 1956, as amended (the “BHC Act”), and as a

bank holding company under Article III-A of the New York Banking Law. M&T was

incorporated in November 1969. As of December 31, 2020, M&T had consolidated total assets




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of $142.6 billion, deposits of $119.8 billion and shareholders’ equity of $16.2 billion. M&T had

16,718 full-time and 655 part-time employees as of December 31, 2020.

        32.     As of December 31, 2020, M&T had two wholly owned bank subsidiaries: M&T

Bank and Wilmington Trust, National Association. The banks collectively offer a wide range of

retail and commercial banking, trust and wealth management, and investment services to their

customers. At December 31, 2020, M&T Bank represented ninety-nine percent (99%) of

consolidated assets of M&T, and had 716 domestic banking offices located in New York,

Maryland, New Jersey, Pennsylvania, Delaware, Connecticut, Virginia, West Virginia and the

District of Columbia, a full-service commercial banking office in Ontario, Canada, and an office

in George Town, Cayman Islands. As a commercial bank, M&T Bank offers a broad range of

financial services to a diverse base of consumers, businesses, professional clients, governmental

entities and financial institutions located in its markets.

                      The Company Announces the Proposed Transaction

        33.     On February 22, 2020, the Company jointly issued a press release announcing the

Proposed Transaction. The press release stated in part:


        Buffalo, NY and Bridgeport, CT, February 22, 2021 - M&T Bank Corporation
        (NYSE: MTB) ("M&T”) and People’s United Financial, Inc. (NASDAQ: PBCT)
        ("People’s United") announced today that they have entered into a definitive
        agreement under which M&T will acquire People’s United in an all-stock
        transaction.

        The combined company will create a diversified, community-focused banking
        franchise with approximately $200 billion in assets and a network of more than
        1,100 branches and over 2,000 ATMs that spans 12 states from Maine to Virginia
        and the District of Columbia. The combined franchise will operate across some of
        the most populated and attractive banking markets in the U.S. As part of the
        transaction, People’s United’s current headquarters in Bridgeport, Connecticut
        will become the New England regional headquarters for M&T, further
        strengthening the combined company’s commitment to Connecticut and the
        region.



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Under the terms of the agreement, People's United shareholders will receive 0.118
of a share of M&T common stock for each People’s United share they own.
Following completion of the transaction, former People's United shareholders will
collectively own approximately 28% of the combined company. The implied total
transaction value based on closing prices on February 19, 2021 is approximately
$7.6 billion.

"In People's United, we have found a partner with an equally long history of
serving and supporting customers, businesses and communities," said René Jones,
chairman and chief executive officer of M&T, who will lead the combined
company in the same capacity. "Combining our common legacies and our
complementary footprints will strengthen our ability to serve our communities
and customers, and provide solutions that make a difference in people's lives. I am
incredibly excited about this opportunity and look forward to welcoming new
customers and team members to our M&T family."

"M&T is a like-minded partner that shares our culture of supporting communities
by focusing on building meaningful relationships and providing personalized
products, services and local market expertise to customers, while building on our
legacy of excellence in service," said Jack Barnes, chairman and chief executive
officer of People’s United. "The merger extends our reach by providing customers
access to a larger banking network and an expanded array of services. I am
confident our shared community banking philosophies will provide significant
long-term value for our shareholders, employees and loyal customers."

Key attractions of the proposed transaction

Unique strategic position and enhanced platform for growth: The merger will
create the leading community-focused commercial bank in the Northeast and
Mid-Atlantic regions, with the scale and share to compete effectively. The two
companies have a complementary top-tier deposit share in core markets with a top
three share in most of their respective top 10 markets. The footprint of the
combined company spans an economically diverse region that accounts for over
20% of the U.S. population and over 25% of U.S. GDP.

Shared commitment to local communities: Both companies have been long
recognized for their community commitments and longstanding support of civic
organizations. Over the past decade, M&T, through The M&T Charitable
Foundation, has donated $263.7 million to over 2,800 nonprofit organizations
across eight states and the District of Columbia. M&T Bank has been awarded the
highest possible Community Reinvestment Act rating on every examination since
1982      from      the     Federal      Reserve   Bank    of    New     York.

People's United Community Foundation and People’s United Community
Foundation of Eastern Massachusetts has granted $40 million to nonprofits
aligned with the Foundations’ collective mission since its inception in 2007.



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       Through the foundations, M&T will use $90 million to support charitable
       activities in the communities currently served by People’s United.

       Compelling financial impacts: M&T expects the transaction to be immediately
       accretive to its tangible book value per share. It is further expected that the
       transaction will be 10-12% accretive to M&T’s earnings per share in 2023,
       reflecting estimated annual cost synergies of approximately $330 million.

       Upon closing, Jack Barnes, Kirk Walters and three other current members of the
       board of directors of People’s United will join M&T’s board of directors.

       The merger has been unanimously approved by the boards of directors of each
       company. The merger is expected to close in the fourth quarter of 2021, subject to
       the satisfaction of customary closing conditions, including receipt of regulatory
       approvals and approval by the shareholders of each company.

       Lazard acted as financial advisor to M&T in connection with the transaction and
       Sullivan & Cromwell LLP served as legal advisor. Keefe, Bruyette & Woods, a
       Stifel Company, served as lead financial advisor to People’s United. J.P. Morgan
       Securities LLC also served as financial advisor, and Simpson Thacher & Bartlett
       LLP served as legal advisor to People’s United.

                 FALSE AND MISLEADING STATEMENTS
      AND/OR MATERIAL OMISSIONS IN THE REGISTRATION STATEMENT

       34.    On April 1, 2021, the Company authorized the filing of the Registration Statement

with the SEC. The Registration Statement recommends that the Company’s shareholders vote in

favor of the Proposed Transaction.

       35.    Defendants were obligated to carefully review the Registration Statement prior to

its filing with the SEC and dissemination to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions. However, the Registration Statement

misrepresents and/or omits material information that is necessary for the Company’s

shareholders to make informed decisions regarding whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.




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                    Material False and Misleading Statements or Material
                Misrepresentations or Omissions Regarding the Financial Opinions

       36.     The Registration Statement contains the financial analyses and opinion of Keefe,

Bruyette & Woods, Inc. (“KBW”), and J.P. Morgan Securities LLC (“J.P. Morgan”) concerning

the Proposed Transaction, but fails to provide material information concerning such.

       37.     With respect to KBW’s People’s United Selected Companies Analysis, the

Registration Statement fails to disclose the individual multiples and metrics for the companies

observed by KBW in the analysis.

       38.     With respect to KBW’s M&T Selected Companies Analysis, the Registration

Statement fails to disclose the individual multiples and metrics for the companies observed by

KBW in the analysis.

       39.     With respect to KBW’s Selected Transactions Analysis, the Registration

Statement fails to disclose the individual multiples and metrics for the transactions observed by

KBW in the analysis.

       40.     With respect to KBW’s Financial Impact Analysis, the Registration Statement

fails to disclose: (i) the pro forma assumptions used in the analysis; and (ii) the extent to which

the Proposed Transaction could be a positive change to M&T’s estimated 2022 and 2023 EPS

and M&T’s estimated tangible book value per share at closing as of September 30, 2021.

       41.     With respect to KBW’s People’s United Dividend Discount Model Analysis, the

Registration Statement fails to disclose: (i) the inputs and assumptions underlying KBW’s

application of discount rates ranging from 10.0% to 12.0%; (ii) the projected dividends; (iii) the

terminal values of People’s United; and (iv) the basis for KBW’s application of the multiples

range of 11.0x to 13.0x.




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       42.     With respect to KBW’s M&T Dividend Discount Model Analysis, the Registration

Statement fails to disclose: (i) the inputs and assumptions underlying KBW’s application of

discount rates ranging from 10.0% to 12.0%; (ii) the projected dividends; (iii) the terminal values

of M&T; and (iv) the basis for KBW’s application of a multiples range of 11.0x to 13.0x.

       43.     With respect to KBW’s Pro Forma Dividend Discount Model Analysis, the

Registration Statement fails to disclose: (i) the inputs and assumptions underlying KBW’s

application of discount rates ranging from 10.0% to 12.0%; (ii) the projected dividends; (iii) the

terminal values for the pro forma combined entity; and (iv) the basis for KBW’s application of

the multiples range of 11.0x to 13.0x.

       44.     With respect to J.P. Morgan’s People’s United Public Trading Multiples Analysis,

the Registration Statement fails to disclose the individual multiples and metrics for the

companies observed by J.P. Morgan in the analysis.

       45.     With respect to J.P. Morgan’s People’s United Dividend Discount Analysis, the

Registration Statement fails to disclose: (i) the basis for J.P. Morgan’s application of the multiple

range of 11.0x to 13.0x; and (ii) the basis for the cost of equity range of 10.5% to 11.5%.

       46.     With respect to J.P. Morgan’s M&T Public Trading Multiples Analysis, the

Registration Statement fails to disclose the individual multiples and metrics for the companies

observed by J.P. Morgan in the analysis.

       47.     With respect to J.P. Morgan’s M&T Dividend Discount Analysis, the Registration

Statement fails to disclose: (i) the basis for J.P. Morgan’s application of the multiple range of

11.0x to 13.0x; and (ii) the basis for the cost of equity range of 10.5% to 11.5%.




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          48.   With respect to J.P. Morgan’s analyst share price targets analyses for both

companies, the Registration Statement fails to disclose the specific price targets observed in the

analyses, as well as the sources thereof.

          49.   When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Moreover,

the disclosure of projected financial information is material because it provides shareholders with

a basis to project the future financial performance of a company and allows shareholders to

better understand the financial analyses performed by the Company’s financial advisor in support

of its fairness opinion.

          50.   Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                                             COUNT I

                     (Against All Defendants for Violations of Section 14(a)
                of the Exchange Act and Rule 14a-9 Promulgated Thereunder)

          51.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          52.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or



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authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

       53.     Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that communications with stockholders in a recommendation statement shall not

contain “any statement which, at the time and in the light of the circumstances under which it is

made, is false or misleading with respect to any material fact, or which omits to state any

material fact necessary in order to make the statements therein not false or misleading.” 17

C.F.R. § 240.14a-9.

       54.     Defendants have issued the Registration Statement with the intention of soliciting

shareholders support for the Proposed Transaction. Each of the Defendants reviewed and

authorized the dissemination of the Registration Statement, which fails to provide critical

information regarding, among other things, the financial projections for the Company.

       55.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Defendants, by virtue

of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Defendants were therefore

negligent, as they had reasonable grounds to believe material facts existed that were misstated or

omitted from the Registration Statement, but nonetheless failed to obtain and disclose such

information to shareholders although they could have done so without extraordinary effort.

       56.     The Defendants knew or were negligent in not knowing that the Registration

Statement is materially misleading and omits material facts that are necessary to render it not

misleading. The Defendants undoubtedly reviewed and relied upon the omitted information

identified above in connection with their decision to approve and recommend the Proposed




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Transaction.

       57.     The Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Registration Statement, rendering the

sections of the Registration Statement identified above to be materially incomplete and

misleading. Indeed, the Defendants were required to be particularly attentive to the procedures

followed in preparing the Registration Statement and review it carefully before it was

disseminated, to corroborate that there are no material misstatements or omissions.

       58.     The Defendants were, at the very least, negligent in preparing and reviewing the

Registration Statement. The preparation of a Registration Statement by corporate insiders

containing materially false or misleading statements or omitting a material fact constitutes

negligence. The Defendants were negligent in choosing to omit material information from the

Registration Statement or failing to notice the material omissions in the Registration Statement

upon reviewing it, which they were required to do carefully as the Company’s directors. Indeed,

the Defendants were intricately involved in the process leading up to the signing of the Merger

Agreement and the preparation of the Company’s financial projections.

       59.     The misrepresentations and omissions in the Registration Statement are material

to Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction.

       60.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.




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                                             COUNT II

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

          61.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          62.   The Individual Defendants acted as controlling persons of M&T within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of M&T, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Registration Statement filed with the SEC, they had the power to influence and control and

did influence and control, directly or indirectly, the decision making of the Company, including

the content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

          63.   Each of the Individual Defendants was provided with, or had unlimited access to,

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.

          64.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Registration Statement at issue contains

the unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly involved in preparing this document.

          65.   In addition, as set forth in the Registration Statement sets forth at length and



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described herein, the Individual Defendants were involved in negotiating, reviewing, and

approving the Merger Agreement. The Registration Statement purports to describe the various

issues and information that the Individual Defendants reviewed and considered. The Individual

Defendants participated in drafting and/or gave their input on the content of those descriptions.

       66.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       67.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       68.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      Directing the Individual Defendants to disseminate an Amendment to the

Registration Statement that does not contain any untrue statements of material fact and that states

all material facts required in it or necessary to make the statements contained therein not

misleading;




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       C.      Directing Defendants to account to Plaintiff for all damages sustained because of

the wrongs complained of herein;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: April 19, 2021                                          Respectfully submitted,

                                                               By: /s/ Joshua M. Lifshitz
                                                               Joshua M. Lifshitz
                                                               Email: jml@jlclasslaw.com
                                                               LIFSHITZ LAW FIRM, P.C.
                                                               1190 Broadway,
                                                               Hewlett, New York 11557
                                                               Telephone: (516) 493-9780
                                                               Facsimile: (516) 280-7376

                                                               Attorneys for Plaintiff




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